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                     Exhibit Z
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Token Attempt: The Misrepresentation of Website Privacy Policies
       through the Misuse of P3P Compact Policy Tokens


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 Token Attempt: The Misrepresentation of Website Privacy
Policies through the Misuse of P3P Compact Policy Tokens

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ABSTRACT                                                                         tokens [17]. Internet Explorer (IE) makes cookie-filtering de-
Platform for Privacy Preferences (P3P) compact policies                          cisions by comparing a website’s CPs with user-configured
(CPs) are a collection of three-character and four-character                     privacy preferences [9]. If a CP does not reflect the web-
tokens that summarize a website’s privacy policy pertain-                        site’s actual privacy practices then that CP is not useful for
ing to cookies. User agents, including Microsoft’s Internet                      decision making. In 2002, regulators from several countries
Explorer (IE) web browser, use CPs to evaluate websites’                         agreed that a P3P policy is legally binding and “constitutes a
data collection practices and allow, reject, or modify cook-                     representation to consumers on which they can be expected
ies based on sites’ privacy practices. CPs can provide a                         to rely” [7].
technical means to enforce users’ privacy preferences if CPs                        In this paper, we present the results of our automated
accurately reflect websites’ practices. Through automated                        evaluation of P3P CPs collected from 33,139 websites. Veri-
analysis we can identify CPs that are erroneous due to syn-                      fying the accuracy of CPs requires comparing the computer-
tax errors or semantic conflicts. We collected CPs from                          readable statements in a CP with a website’s actual privacy
33,139 websites and detected errors in 11,176 of them, in-                       practices with respect to cookies. Sometimes this can be
cluding 134 TRUSTe-certified websites and 21 of the top 100                      done by reading the statements that sites make in their pri-
most-visited sites. Our work identifies potentially mislead-                     vacy policies. However, sometimes privacy policies do not
ing practices by web administrators, as well as common ac-                       have sufficient details, and they may not be completely accu-
cidental mistakes. We found thousands of sites using identi-                     rate. Even when accurate details are available, reviewing the
cal invalid CPs that had been recommended as workarounds                         accuracy of CPs is a very labor-intensive process. Therefore
for IE cookie blocking. Other sites had CPs with typos in                        we looked for ways to identify errors in P3P CPs that can
their tokens, or other errors. 98% of invalid CPs resulted in                    be determined based on the syntax errors and conflicting to-
cookies remaining unblocked by IE under it’s default cookie                      kens within CPs themselves, without having to review thou-
settings. It appears that large numbers of websites that use                     sands of privacy policies, and without requiring first-hand
CPs are misrepresenting their privacy practices, thus mis-                       knowledge that these policies are accurate. We developed
leading users and rendering privacy protection tools ineffec-                    heuristics to detect three categories of CP errors: invalid
tive. Unless regulators use their authority to take action                       tokens, missing tokens, and conf licting tokens.
against companies that provide erroneous machine-readable                           We found that nearly 34% of the CPs evaluated in August
policies, users will be unable to rely on these policies.                        2010 have at least one error in these categories, and more
                                                                                 than half of those with errors omit required information. In
                                                                                 addition to syntax and semantic errors, we found that 79% of
1.    INTRODUCTION                                                               CPs lack a corresponding full P3P policy, which is required
  The Platform for Privacy Preferences (P3P) is a World                          for P3P-compliance. Among the 100 most-visited websites1
Wide Web Consortium (W3C) recommendation for specify-                            we found 48 sites with CPs, 21 of which exhibited CP errors
ing website privacy policies in a machine readable format.                       that our automated analysis could detect. In addition, 41 of
Developed as part of an industry self-regulatory effort and                      these popular sites with CPs did not have corresponding full
published in 2002, it provides two privacy policy formats:                       P3P policies. The numbers reported in this paper should be
full policies and compact policies (CPs). P3P full policies                      considered a lower bound for the actual number of CPs with
are XML files that represent website privacy policies in de-                     errors, as CPs may contain other types of errors that require
tail. P3P CPs summarize website privacy policies regarding                       manual comparison with human-readable privacy policies or
cookies using a string of three-character and four-character                     other types of analysis to detect.
                                                                                    We analyzed the impact of CP errors on privacy and found
                                                                                 that these errors could mislead users by misrepresenting pri-
                                                                                 vacy practices with respect to cookies. We also determined
                                                                                 the implications of faulty CPs for user agent behavior. We
                                                                                 analyzed practices that appear to be deliberately designed
                                                                                 to bypass IE default privacy filters and found that more
                                                                                 than 97% of incorrect CPs would bypass these default fil-
                                                                                 1
This is an extended version of a paper to be presented at the ACM Workshop         Most-visited websites as of August 2010, according to
on Privacy in the Electronic Society (WPES 2010), October 2010.                  http://www.quantcast.com/top-sites-1.


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ters. Our work identifies potentially misleading practices by          2.2    P3P Compact Policies
web administrators, as well as common accidental mistakes.                Compact policies (CPs) are defined in the P3P specifica-
   This paper is organized as follows. In Section 2, we discuss        tion as an optional performance optimization. CPs are op-
the details of P3P and compact policies and review related             tionally served when a website transmits a cookie. They pro-
work. In Section 3, we describe our study methodology. In              vide a lightweight mechanism to provide information about
Section 4, we introduce and define common P3P CP errors,               a website’s privacy practices with respect to cookies and help
present data on the frequency with which each type of error            user agents quickly decide how to process cookies. The P3P
appears, and discuss the privacy implications of these errors.         specification requires that sites that choose to deploy CPs
In Section 5, we analyze the impact of incorrect CPs on IE             make an effort to do so accurately. According to the P3P
and discuss evidence that incorrect CPs are being used to              specification, “if a web site makes compact policy statements
bypass IE privacy filters. In Section 6, we analyze the CPs            it MUST make these statements in good faith” [18]. Despite
of three groups of websites: popular sites, network advertis-          being an optional component of P3P, CPs are important be-
ers that offer opt-out cookies, and TRUSTe-certified sites.            cause they are used by IE 6, 7, and 8 to determine whether
Finally, we present our conclusions in Section 7. We also              to block or modify cookies.
include seven appendixes that provide detailed information                P3P specifies a set of CP tokens associated with nine
about CP tokens and data from our analysis.                            types of P3P policy elements. Valid CPs must have at least
                                                                       five of these elements. The valid tokens for each element,
2.     BACKGROUND AND RELATED WORK                                     the corresponding full-P3P policy elements, and a short de-
                                                                       scription of each are provided in Appendix A.
  In this section we provide an overview of the Platform for
Privacy Preferences (P3P) 1.0. In addition, we provide back-
ground on P3P compact policies and discuss related work.               2.3    Internet Explorer Cookie Blocking
                                                                          IE 6, 7, and 8 allow users to set their privacy preferences,
2.1     The P3P Specification                                          which are then used to evaluate websites’ CPs and perform
                                                                       cookie filtering. IE considers cookies that are used to collect
   P3P is a standard for specifying websites’ privacy poli-
                                                                       personally identifiable information (PII) without providing
cies in a machine-readable XML format that can be pro-
                                                                       users the choice to opt-in/opt-out to be unsatisfactory cook-
cessed and acted upon by automated tools [2], [17]. P3P
                                                                       ies. IE performs cookie filtering based on six privacy levels
allows user agents to automatically evaluate privacy poli-
                                                                       that the user can set up; namely, Block All Cookies, High,
cies against users’ preferences. For example, users can set
                                                                       Medium High, Medium (default level), Low, and Accept All
up their privacy preferences using user agents embedded in
                                                                       Cookies [9]. The vast majority of users do not change the
their web browsers so that their browsers will warn about
                                                                       default privacy settings, so analyzing filtering conditions at
mismatches with privacy preferences or block cookies at sites
                                                                       the medium level allows us to determine the privacy impact
where mismatches occur [4]. When P3P is embedded in
                                                                       of invalid CPs that bypass IE filters. Under the medium
search engines, search results can be annotated automati-
                                                                       setting, unsatisfactory first-party cookies are converted into
cally with privacy information [3]. P3P enables automatic
                                                                       session cookies and unsatisfactory third-party cookies are re-
generation of standardized “nutrition label” privacy notices,
                                                                       jected. In addition, third-party cookies not accompanied by
which are more understandable and easier to read than con-
                                                                       CPs are rejected. When cookies are rejected, website func-
ventional policies [8]. It also allows automated tools to col-
                                                                       tionality may be impaired and sites may be unable to collect
lect privacy policy data for analysis [1].
                                                                       some of the data they use for operational or business pur-
   Published in 2002, the P3P 1.0 specification defines two
                                                                       poses. Because of this cookie-blocking feature, many website
types of P3P policies: full policies and compact policies.
                                                                       administrators have implemented CPs on their websites.
P3P full policies are written in XML format and use a de-
fined vocabulary and a data schema to represent human-
readable privacy policies in a machine-readable language.
                                                                       2.4    Related Work
Compact policies summarize privacy practices associated with              The first large-scale automated analysis of P3P policies
the use of cookies; they are transmitted in response to HTTP           found that approximately 10% of 5,739 websites tested in
requests using HTTP headers. Full P3P policies are the au-             2003 were P3P-enabled [1]. In addition, 85 websites had only
thoritative source for website information management prac-            compact policies and were therefore not P3P-compliant, and
tices. The P3P specification requires compact policies to              about a third of the full P3P policies had technical errors.
have corresponding full P3P policy files [17].                         Reay et. al. performed a study of over 3,000 full and com-
   The P3P specification defines a protocol for requesting             pact P3P policies. They found high rates of websites post-
and transmitting P3P policies via HTTP. Retrieving a P3P               ing CPs without corresponding full P3P policies, as well as
policy requires a two-step process. P3P user agents issue re-          many sites that had conflicts between full and compact P3P
quests for P3P policy reference files stored in a “well-known”         policies [14].
location and also check for P3P HTTP headers and P3P                      Cranor, et al. performed an error analysis on P3P full
metadata embedded in HTML content. P3P policy refer-                   policies. They found that 73% of the 14,720 full P3P poli-
ence files contain references to the location of full P3P policy       cies analyzed contained syntax errors. They compared full
files. After fetching a P3P policy reference file, user agents         P3P policies with their corresponding natural language pri-
are able to locate and retrieve a full P3P policy file [17].           vacy policies at 21 popular websites and found conflicts be-
   W3C maintains an online validation tool that checks for             tween the P3P and natural language policy at each of these
syntax errors in full P3P policies and CPs.2                           sites. Most conflicts were associated with the P U RP OSE,
                                                                       CAT EGORIES, and RECIP IEN T S elements [3].
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    http://www.w3.org/P3P/validator.html                                  Reidenberg and Cranor studied the accuracy of P3P user


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agents [15]. They suggested that inaccurate representations          three categories: invalid tokens, missing tokens, and con-
by user agents could undermine the purpose of the P3P stan-          f licting tokens. We define each type of error in Section 4.
dard. From a legal standpoint, the enforceability of an agree-       We developed scripts to parse CPs and detect each type of
ment based on a P3P user agent’s simplified representation           error we defined. We also developed a script to check each
of a website privacy policy is uncertain [6]. In the United          CP to determine whether it would be considered satisfactory
States, the Federal Trade Commission Act of 2006 empow-              by IE under the default privacy setting [9].
ers the FTC to prevent “unfair or deceptive acts or practices
in or affecting commerce....” The FTC has used this author-          4.    COMPACT POLICY ERRORS
ity to take action against companies with deceptive privacy
                                                                        In this section we present the results of our evaluation
policies. While the FTC has not taken such actions on the
                                                                     of 33,139 collected CPs. We define three categories of er-
basis of deceptive machine-readable privacy policies to date,
                                                                     rors, and for each type provide data on the frequency of
it appears to be within the FTC’s authority to do so [7].
                                                                     occurrence. We suggest probable underlying causes of these
                                                                     errors: typos, lack of understanding of the P3P specifica-
3.   METHODOLOGY                                                     tion, or attempts to avoid web browser cookie filtering. We
   We collected CPs from four data sets. First, we col-              further evaluate the impact of these errors on users’ privacy.
lected 52,156 URLs containing CPs from the Privacy Finder               We found 11,176 CPs with errors, about 34% of the URLs
search engine cache in January 2010. The cache was ini-              we analyzed. If we aggregate these invalid CPs by unique
tially seeded in 2005 through a web crawl [3] and has grown          domain names, the number of incorrect CPs is reduced to
over time as a result of Privacy Finder users’ searches. Sec-        4,696. Domain names with more than one website account
ond, on July 3, 2010 we collected a list of the 3,417 websites       for at least 57% of the total invalid CPs. If companies host-
holding TRUSTe privacy seals, as reported by the mem-                ing multiple sites correct their CPs, the CPs with errors
bership list posted on the TRUSTe website [16]. Third,               could be reduced to less than 15% of the URLs we analyzed.
we collected a list of the 100 most-visited websites from            Table 1 summarizes the CP errors we found.
www.quantcast.com on August 10, 2010. Fourth, we col-                   According to the P3P specification, CPs must be accom-
lected a list of 75 network advertisers offering opt-out cook-       panied by a full P3P policy. Therefore, we investigated how
ies that can be set using the Beef Taco (Targeted Advertising        many of the collected CPs have a corresponding full P3P
Cookie Opt-Out) Firefox extension as of June 23, 2010. We            policy. We found that only 21% of those websites providing
removed duplicate domains from multiple datasets, so we              CPs also provided full P3P policies.
had a final list of 55,636 unique URLs.
   In August 2010 we used our web crawler to visit our list of       4.1     Invalid Tokens
55,636 URLs and attempt to download CPs. Some datasets
had URLs that were not fully qualified (for example, foo.com         4.1.1    Definition
instead of http://www.foo.com) so we prepended http://                 All valid CP tokens are shown in Appendix A. Some
and http://www. and tried again if sites failed. When we             tokens can optionally be accompanied by an attribute that
contacted sites that no longer responded, we retried twice.          specifies that a data practice is performed always, on an
When we contacted sites that gave other errors, we retried           opt-in basis, or on an opt-out basis (a, i, or o). No other
up to ten times. Some of the sites on this list were no longer       tokens or token-attribute combinations are valid. An invalid
available, and some that previously had provided CPs were            token error occurs when a CP includes an invalid token or
no longer providing them. We were able to collect CPs from           an invalid token-attribute combination.
33,139 sites.                                                          Tokens that do not specify the optional attribute default
   At sites with P3P CPs we also checked for full P3P poli-          to the always attribute (a). The CU R (current purpose)
cies. The crawler checked for a P3P policy reference file in         token does not take an optional attribute, but we found
the P3P well-known location, HTTP header, and page con-              CU Ra is commonly used in CPs. As CU R is the only
tent. If found we parsed this file to retrieve the location of       P U RP OSE element that does not allow an attribute, we
the full P3P policy (the policy is either embedded in the            believe web administrators may be mistakenly adding the
policy reference file or referenced by a URL in the policy           invalid a attribute. Since CUR already means that data is
reference file). We then retrieved the full P3P policy and           always collected for the current purpose this does not change
file and verified that it contained a P3P policy. 7,016 of the       the semantics of the CP, though it is technically invalid. In
sites with CPs also had full P3P policies.                           this paper we report the frequency of CU Ra separately from
   Some domains we analyzed had more than one host on the            other invalid tokens and do not count this error in our overall
domain with a compact policy in our Privacy Finder cache             error numbers.
dataset, for example both http://www.x.example.com and
http://www.y.example.com. We report data in both ag-                 4.1.2    Evaluation
gregated form where each domain is represented only once               Of the total CPs evaluated, 11.6% contained invalid to-
for each unique CP found regardless of the number of hosts           kens. An additional 16% contained the invalid and harmless
(just one entry for example.com if all hosts in example.com          CURa token and no other invalid tokens, but we do not in-
have the same CP) and in non-aggregated form where each              clude these URLs in our count of sites with invalid tokens.
host is represented (x.example.com and y.example.com are             Companies publishing multiple websites under a single do-
separate). Furthermore, if a single domain exhibited differ-         main name account for 79% of the invalid token errors.
ent incorrect CPs, we reported them separately and count
both of them in the aggregated data set. There are 19, 820           4.1.3    Analysis
domains in our aggregated data set.                                    Many invalid token errors are likely to be accidental. We
   We define a set of P3P CP errors and group them into              found that several CPs include the CU S string which is not


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 Type of error                       Number             Percent of                  Number                Percent of
                                     of URLs            URLs with Errors            of Domains            Domains with Errors
 Any problem                         11,176             33.7%                       4,696                 23.7%
 Invalid tokens
 Invalid tokens                      3,839              11.6%                       794                   4.0%
 CURa (no other problems)            5,295              16.0%                       2,557                 12.907%
 Missing tokens                      6,402              19.3%                       3,319                 16.8%
 Conflict between tokens
 IVA                                 3,977              12.0%                       923                   4.7%
 CON                                 3,899              11.8%                       835                   4.2%
 IVD                                 1,059              3.2%                        669                   3.4%
 TEL                                 340                1.0%                        178                   0.9%
 NID                                 366                1.1%                        168                   0.9%
 NOR                                 345                1.0%                        99                    0.5%
 NON                                 32                 0.1%                        27                    0.1%
 Total analyzed                      33,139 URLs                                    19,820 Domains


Table 1: Summary of CP errors. Some CPs have errors in more than one category. CPs that contain the
invalid CU Ra token and no other errors are not included in the “any problem” count.


a valid token. We believe that web administrators might             mine a website’s data practices with respect to cookies. For
have intended to use the T AI (tailoring) token but wrote           example, a CP that contains no CATEGORIES token fails
CU S (customize) instead, which is an option that appeared          to communicate the type of information associated with a
in early drafts of the P3P specification. Another common            cookie. Because P3P declarations are positive, the absence
syntax error is swapping letters within tokens. For exam-           of a token is an indicator that a website does not engage in a
ple, web administrators tend to write OP T instead of OT P ,        particular practice. Therefore, sites that are missing CATE-
T IA instead of T AI and so on. Web administrators com-             GORIES tokens are effectively stating that they do not col-
monly add attributes to tokens that do not accept them. For         lect any category of data. Furthermore, IE analyzes CAT-
example, they use CAOo instead of CAO (providing user ac-           EGORIES, PURPOSE and RECIPIENT tokens to make
cess to contact information). Another common token found            cookie-blocking decisions. As we discuss later, if these to-
with invalid attributes was OU R, which is the only recipient       kens are omitted, IE may incorrectly accept a cookie that
token that does not accept an attribute. Some invalid CPs           would otherwise be blocked.
contain multiple valid tokens concatenated together without
the required white-space separator. More concerning are the         4.3     Conflicting Tokens
CPs that contain completely invalid strings such as AM ZN
or V P RT .                                                         4.3.1    Definition
  While some of the invalid token errors are likely typos             The CP semantics should guarantee consistency between
and many appear to be harmless, these errors may cause              different tokens. For example if a CP includes the ALL to-
user agents to incorrectly interpret a CP, which could con-         ken, indicating users have access to all of their personally
fuse and mislead users. In addition, it appears that some           identifiable information, the CP cannot include the N ON
of the completely-invalid tokens are being used by sites to         token as well, as that means users have no access to their
prevent their cookies from being blocked without providing          personally identifiable information. Similarly, if a CP in-
a meaningful CP.                                                    cludes the N OR token, which means the website does not
                                                                    store permanently the information collected, it cannot in-
4.2     Missing Tokens                                              clude any other RETENTION element tokens. If a website
                                                                    declares that it does not collect personally identifiable in-
4.2.1    Definition                                                 formation (PII) then the CP should not include tokens that
  According to the P3P specification, each statement in a           suggest collection of such information. Several conflicting
CP that does not include the N ID (no user-identifiable data        token scenarios are defined in the following paragraphs.
collected) token should include at least one PURPOSE, RE-             Conflict with the NID token. The non-identifiable token
CIPIENT, RETENTION, CATEGORIES and ACCESS to-                       N ID should be used only when the website does not collect
ken. A missing tokens error occurs when a CP without a              any type of PII and associate it with a cookie. There are
NID token does not contain at least one token from each of          many tokens that suggest collection of this information. In
the above five categories.                                          particular P HY (information to locate or contact an indi-
                                                                    vidual in the physical world), ON L (information to locate
4.2.2    Evaluation                                                 or contact an individual on the Internet, e.g. email address),
  Missing-token errors are the most common type of error            F IN (financial information), LOC (physical location data)
we found. These errors occur in 19% of the total analyzed           and GOV (government identifier, e.g. social security num-
CPs and account for more than 57% of the incorrect CPs.             ber) tokens are directly associated with the collection of PII.
                                                                    Similarly, CAO (contact and other information) and IDC
4.2.3    Analysis                                                   (online and physical contact information) ACCESS tokens
  Missing tokens make it impossible to use the CP to deter-         should appear only if PII is collected by the website and


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associated with a cookie. Furthermore, the IV A (individ-              Type of error         Number      Full P3P       Ratio
ual analysis), IV D (individual decision), CON (contact)                                      of CPs      Policies    CPs/Full
and T EL (telemarketing) PURPOSE tokens require PII and                None (valid CPs)         21,963        5,915       26.9%
should not be in the CP if the N ID token is also in the CP.           Any problem              11,176        1,106        9.9%
   Conflict with the IVA/IVD tokens. Performing individ-
ual analysis (IVA) or making individual decisions (IVD) re-            Invalid tokens            3,839         255         6.7%
quires identifying a particular individual. The IVA and IVD            Missing tokens            6,402         469        7.03%
tokens must be accompanied by at least one of the following            Conflicting tokens
CATEGORIES tokens: PHY, ONL, FIN, PUR, GOV.                            IVA                       3,977         586        14.7%
   Conflict with the CON token. The contact token, CON ,               CON                       3,899         321         8.2%
requires enough information to contact the individual either           IVD                       1,059         424        40.0%
by electronic or physical means. CON must be accompanied               TEL                         340         107        31.5%
                                                                       NID                         366         127        34.7%
by at least a P HY or ON L token.                                      NOR                         345          64        18.6%
   Conflict with the TEL token. Telemarketing requires phone           NON                          32           1         3.1%
numbers, which are part of the physical category. Therefore,
the T EL token must be accompanied by a P HY token.
   Conflict with the NON/NOR tokens. The N ON token                    Table 2: Full P3P policies at websites with CPs.
indicates users are not allowed to access any data collected
about them. None of the remaining tokens in the ACCESS
                                                                      egories can also lead to user confusion. These errors suggest
element should appear in the CP with the N ON token.
                                                                      either a lack of understanding of the P3P tokens or an at-
Similarly, the N OR RETENTION token means the web-
                                                                      tempt to misrepresent a site’s practices.
site does not store permanently any kind of PII. If there is a
                                                                         Most of the websites in the NON conflicting token error
N OR token the CP should not contain any other RETEN-
                                                                      category simultaneously include the CAO and N ON tokens
TION tokens.
                                                                      in their CPs. This suggests a possible misunderstanding of
                                                                      the N ON token. It leaves users with uncertainty about the
4.3.2    Evaluation                                                   access options offered by the website.
  The most common errors in this category are associated
with the individual analysis (IVA) token. We found these              4.4   CPs Without Full P3P Policies
errors in 12% of the analyzed CPs and 35% of the invalid                 The P3P specification requires websites implementing CPs
CPs. The second most common type of error in this cat-                to have a corresponding full P3P policy. Only 7,016 of the
egory is associated with the CON token, which represents              33,139 URLs in our data set (21%) had full P3P policies.
more than 11% of the collected CPs and more than 34% of               As shown in Table 2, CPs without errors were almost three
the total incorrect CPs. Conflicts involving the remaining            times more likely to have full P3P policies than those with
tokens are relatively rare, each occurring in less than 4% of         errors. 26.9% of error-free CPs had corresponding full P3P
the CPs we analyzed.                                                  policies, while only 9.9% of CPs with errors had full P3P
                                                                      policies. For CPs with the two most common errors, in-
4.3.3    Analysis                                                     valid tokens and missing tokens, the percentage of URLs
   When a website incorrectly uses the N ID token, users              that present full P3P policies is even lower. This finding
have conflicting information about whether or not their PII           provides some evidence that websites with these types of er-
is being collected. Web administrators may misunderstand              rors may be providing inaccurate CPs to avoid having their
the definition of the N ID token in the P3P specification and         cookies blocked.
use it incorrectly. The most common N ID conflict we found               We found full P3P policies for 17% of the 391 TRUSTe
was with the ON L token (email address or other online con-           sites with CPs, 55% of the 11 network advertising sites with
tact information). This suggests that web administrators              CPs, and 15% of the 48 most-visited sites with CPs. Ap-
might be unaware that email addresses are considered iden-            pendices E, F, and G show the details on most-visited sites,
tifiable information. Another common conflict is with the             network advertiser sites, and TRUSTe sites respectively.
IVA token (individual analysis) which implies that identifi-             The CPs with IV D, T EL, and N ID conflicting tokens
able information is used to perform an analysis. If the N ID          were more likely to have corresponding full P3P policies.
token is used and it is true that no PII is collected, the P SA       This result suggests that many of these websites may be
token (pseudo-analysis) should be used instead of the IV A            making good faith efforts to properly comply with the P3P
token.                                                                specification and not just sending CPs to avoid cookie block-
   The NOR conflicting token error leads to confusion about           ing. However, web administrators may not fully understand
website retention practices. This is probably an accidental           the meanings of these tokens.
mistake, but could negatively affect users’ decisions. We
found that some CPs include N OR and IN D tokens: while               4.5   Other Semantic Errors
the company claims no retention of PII at the same time                 In addition to the errors already discussed, CPs may con-
they claim that they store information indefinitely. Many of          tain other types of errors that we were unable to detect
the invalid CPs in this error category include the BU S to-           automatically. For example, CPs may be semantically in-
ken, meaning the retention period is based on their business          consistent with human-readable policies posted on websites
practices. While it might be the case that their business             or with full P3P policies. In addition, CPs may fail to accu-
practices do not require the retention of personal informa-           rately represent website data practices. Evaluating semantic
tion, including both of these tokens is confusing.                    errors requires analyzing websites’ human readable policies,
   The IVA, IVD, CON and TEL conflicting token error cat-             which is not a task that can be automated. Given the large


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scale of our study, reading human readable policies for the            or CAT EGORIES tokens. Even if the CP were valid, Mi-
thousands of sites we evaluated is impractical. Furthermore,           crosoft’s recommendation undermines the purpose of P3P
human-readable policies do not always contain detailed in-             since it encourages web administrators to use CPs that do
formation about data collection and treatment associated               not represent their actual data practices. We found several
with the use of cookies, so even reading these policies would          technical blogs recommending similar solutions [11], [19].
not necessarily resolve questions of P3P accuracy. Thus, a             Some of them suggested the exact CP described above and
complete evaluation of semantic errors is beyond the scope             referred to the Microsoft support website as the source of
of our study. However, to gain some insights into the preva-           their advice [12]. This CP occurred 2,756 times in our data
lence of semantic errors, we manually compared CPs with                set. Only 31 of these CPs had corresponding full P3P poli-
full P3P policies and human-readable policies at 41 sites, in-         cies. Nearly 25% of the invalid CPs used these tokens, repre-
cluding 11 most-visited web sites. As detailed in Appendix             senting 43% of invalid CPs in the missing-tokens error cate-
C and D, 40 of these sites failed to provide full P3P policies,        gory. We did not find this CP at any of the 100 most-visited
15 failed to provide human-readable privacy policies, and              websites.
2 sites had CPs consisting only of meaningless, invalid to-               In an article titled “P3P in IE6: Frustrating Failure” posted
kens. When comparing the full policies and human-readable              in the O’Reilly blog, the author suggests another “trick” to
policies with their corresponding CPs, we found 4 sites with           bypass IE6 privacy filters. He recommends adding a P3P
slight discrepancies, and 15 sites with major discrepancies.           CP header that “enables your cookie to survive any privacy
Furthermore, we were not able to compare 5 sites because               setting” [5]. The CP suggested is: N OI ADM DEV P SAi
their human-readable policies did not include any statement            COM N AV OU R OT Ro ST P IN D DEM . This CP does
about cookies.                                                         not contain any of the errors we tested for. However, if
                                                                       web administrators blindly post it without confirming that
                                                                       it matches their site’s actual practices, they will mislead
5.   COMPACT POLICIES AND INTERNET                                     users. This CP occurred 4,360 times in our data, represent-
     EXPLORER                                                          ing 13% of the CPs analyzed. Only 12 of these CPs had
                                                                       corresponding full P3P policies. We did not find this CP at
   Microsoft helped drive P3P adoption by using P3P CPs to
                                                                       any of the 100 most-visited websites.
make cookie-blocking decisions. However, the large number
                                                                          We manually analyzed 30 privacy policies of websites that
of CP errors and low rate of full P3P compliance suggest
                                                                       use the CP recommended by the O’Reilly blog. 14 of these
that many websites are adopting P3P CPs in order to avoid
                                                                       30 websites were randomly taken from the domains that
cookie blocking, but are not presenting accurate representa-
                                                                       present the most URLs with this CP. The remaining 16
tions of their privacy practices. To gain additional insights
                                                                       evaluated websites were randomly chosen from the set of
into CP adoption, we analyzed the CPs we collected to deter-
                                                                       websites sending this CP. From the 30 manually-analyzed
mine whether IE would classify them as satisfactory under
                                                                       websites, only one had a valid P3P full policy. However,
the default medium setting. We found that 99% of CPs col-
                                                                       the valid full P3P policy did not match the corresponding
lected would be considered satisfactory by IE. Of the 33,139
                                                                       CP, and when we returned to the website in September we
CPs we examined, only 118 error-free CPs and 263 CPs with
                                                                       discovered the full P3P policy had been removed. We were
errors were considered unsatisfactory, and thus would likely
                                                                       unable to locate any human-readable privacy policy at 15 of
be blocked when the cookie was used in a third-party con-
                                                                       these websites. Furthermore, none of the human-readable
text. All but three of the unsatisfactory CPs with errors
                                                                       privacy policies we found properly matched the correspond-
had missing-tokens errors.
                                                                       ing CP. Apendix C summarizes the results of this manual
   IE cookie filters only look for combinations of tokens con-
                                                                       evaluation.
sidered unsatisfactory. They ignore invalid tokens and do
                                                                          From the 15 websites that exhibited a human-readable
not check to make sure the minimum required tokens are
                                                                       policy, only 10 mention the use of cookies. However, we
present. They also do not look for token conflicts. If IE per-
                                                                       found semantic inconsistencies between all of these policies
formed the same sort of checks we did in our analysis and
                                                                       and their corresponding CPs. Most of these policies made
treated CPs with these errors as unsatisfactory, we would ex-
                                                                       no mention of data practices related to the N OI access to-
pect the error rate to be reduce over time because companies
                                                                       ken; ADM , DEV , or P SAi purpose tokens; ST P or IN D
would have an incentive to correct the errors in their CPs
                                                                       retention tokens; or DEM categories token. Many of them
(although it is possible that we would then see an increased
                                                                       made references to other cookie-related data practices not
rate of other types of errors that are less-easily detectable
                                                                       captured by the CP.
through automated analysis).
                                                                          We performed a Google search for “ie blocking iframe
   After observing a large number of identical CPs in our
                                                                       cookies” and found a number of sites suggesting similar so-
data set, we suspected that web administrators might be
                                                                       lutions. For example, another blog post recommended a
copying these CPs from a common source. We used a search
                                                                       CP that we found 300 times in our data set [19]. On the
engine to track down the source of some of the most common
                                                                       other hand, we also found a popular question-and-answer
CPs in our data set.
                                                                       site that advised web administrators to create CPs that ac-
   We discovered that Microsoft’s support website recom-
                                                                       curately reflect their site’s privacy policy: “The tags are not
mends the use of invalid CPs as a work-around for a prob-
                                                                       only a bunch of bits, they have real world meanings, and
lem in IE. Specifically, a FRAMESET or parent window
                                                                       their use gives you real world responsibilities! For exam-
that references another site inside a FRAME considers the
                                                                       ple, pretending that you never collect user data might make
referenced site as a third-party, even if it is first-party con-
                                                                       the browser happy, but if you actually collect user data, the
tent located on the same server [10]. Microsoft suggests
                                                                       P3P is conflicting with reality. Plain and simple, you are
the following invalid CP: CAO P SA OU R. This CP is
                                                                       purposefully lying to your users....” Immediately under the
clearly invalid since it does not contain any RET EN T ION


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 Compact Policy                                            Number of              Errors                       IE Satisfactory
 listed in http-stats.com/P3P                              occurrences                                         cookie?
                                                           in collected
                                                               CPs
 CAO DSP COR CUR ADM DEV TAI PSA PSD                             2,738            None                         YES
 IVAi IVDi CONi TELo OTPi OUR DELi SAMi
 OTRi UNRi PUBi IND PHY ONL UNI PUR FIN
 COM NAV INT DEM CNT STA POL HEA PRE
 GOV
 NOI ADM DEV PSAi COM NAV OUR OTRo STP                           4,360            None                         YES
 IND DEM
 NON DSP CURa OUR NOR UNI                                         0               Missing tokens               YES
 ALL CURa ADMa DEVa TAIa OUR BUS IND PHY                         102              None                         YES
 ONL UNI PUR FIN COM NAV INT DEM CNT
 STA POL HEA PRE LOC OTC
 BUS CUR CONo FIN IVDo ONL OUR PHY SAMo                          293              Missing tokens               YES
 TELo
 CAO DSP COR CURa ADMa DEVa OUR IND PHY                          553              None                         YES
 ONL UNI COM NAV INT DEM PRE
 NOI NID ADMa OUR IND UNI COM NAV                                464              None                         YES
 ALL DSP COR CURa ADMa DEVa TAIa PSAa PSDa                        24              Conflicting IVA, IVD,        YES
 IVAa IVDa CONa TELa OUR STP UNI NAV STA                                          CON, and TEL tokens
 PRE
 NOI DEVa TAIa OUR BUS UNI STA                                   359              None                         YES
 CAO PSA OUR                                                     2,756            Missing tokens               YES


                   Table 3: Frequency of “common” CPs from http-stats.com in collected CPs


example CP was the warning: “Note that the combination                 displayed a full P3P policy.
of P3P headers in the example may not be applicable on                    The f acebook.com CP is invalid because it is missing
your specific website; your P3P headers MUST truthfully                PURPOSE, RECIPIENT, RETENTION, CATEGORIES
represent your own privacy policy!” [13]. This warning must            and ACCESS tokens. The included tokens, DSP and LAW ,
have been effective as we did not find the example CP in our           do not provide any information about the site’s collection or
data set.                                                              use of data. This CP simply states that any privacy dispute
  We examined the top 10 P3P header values listed at http-             will be resolved according to a law referenced in their pri-
stats.com, a website that crawls the web and compiles data             vacy policy, and implies that the site collects no data associ-
on HTTP header values. These headers included the CPs                  ated with the cookie. When doing preliminary work for this
recommended in the O’Reilly blog and on the Microsoft sup-             study in 2009, the f acebook.com compact policy contained
port website. As shown in Table 3, we found multiple in-               only the single invalid token HON K. Both of these CPs are
stances of nine of these CPs in our data set and detected              useless for communicating with user agents and users. It is
errors in four of these CPs. All of these CPs are considered           likely that f acebook.com is using their CP to avoid being
satisfactory by IE.                                                    blocked by IE.
                                                                          Websites under the msn.com domain exhibited a CP that
                                                                       includes the invalid CU So token. Two other Microsoft-
6.   COMPACT POLICIES AND POPULAR                                      owned sites, microsof t.com and windows.com use the same
     WEBSITES                                                          CP. These websites display the TRUSTe EU Safe Harbor
   In this section we present the results of our evaluation of         Privacy seal. We believe that these websites are likely at-
the top-100 most-visited websites, 3,417 TRUSTe-certified              tempting to comply with P3P; however, they are not using
websites, and 75 network advertising websites offering opt-            P3P properly.
out cookies that can be set using the Beef Taco Firefox ex-               The live.com CP does not include any ACCESS tokens.
tension. We found that only 391 of the evaluated TRUSTe                This CP suggests collection of PII, but does not provide any
sites had CPs and 134 of those had errors. 48 of the 100               information about whether users can access their personal
most-visited sites had CPs and 21 had errors. 11 of the                information.
evaluated network advertising sites had CPs and only one                  The amazon.com and imdb.com domains each contain a
had an error.                                                          single invalid token and no other tokens, so they fall into
   The top-visited domains with CPs are listed in Appendix             the invalid-tokens and missing-tokens categories. It appears
E. We analyzed the errors in detail for the top 50 most-               that these two websites use a CP only for the purpose of
visited sites with CPs that contained errors. Because of the           avoiding IE cookie filtering.
popularity of these sites, errors in their CPs have an impact             The aol.com domain’s CP is invalid since it is missing
on a large number of users. Table 4 shows the CPs and types            ACCESS and RETENTION tokens. The mapquest.com
of errors found. Only one of these websites, microsoft.com,            domain is missing a RETENTION token. The godaddy.com


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 URL                 Compact Policy                                 Errors found      Valid Full     IE Satisfactory    TRUSTe
                                                                                      P3P Policy     cookie?            seal
 facebook.com        DSP LAW                                        Missing tokens    NO             Yes                EU Safe Harbor
 msn.com             BUS CUR CONo FIN IVDo ONL OUR                  Missing tokens    NO             Yes                EU Safe Harbor
                     PHY SAMo TELo
 live.com            BUS CUR CONo FIN IVDo ONL OUR                  Missing tokens    NO             Yes                EU Safe Harbor
                     PHY SAMo TELo
 amazon.com          AM ZN                                          Invalid tokens,   NO             Yes                None
                                                                    Missing tokens
 microsoft.com       ALL IND DSP COR ADM CONo CUR                   Invalid tokens    YES            Yes                EU Safe Harbor
                     CU So IVAo IVDo PSA PSD TAI TELo
                     OUR SAMo CNT COM INT NAV ONL
                     PHY PRE PUR UNI
 reference.aol.com   UNI INT STA NAV DEV CUR OUR                    Missing tokens    NO             Yes                Web Privacy
 atlas.mapquest.comSTA INT UNI CUR DEV NOI OUR                      Missing tokens    NO             Yes                None
 godaddy.com         IDC DSP COR LAW CUR ADM DEV                    Conflicting IVA   NO             Yes                EU Safe Harbor
                     TAI PSA PSD IVA IVD HIS OUR SAM                and IVD tokens
                     PUB LEG UNI COM NAV STA
 imdb.com            IM DB                                          Invalid tokens,   NO             Yes                None
                                                                    Missing tokens
 windows.com         ALL IND DSP COR ADM CONo CUR                   Invalid tokens    NO             Yes                None
                     CU So IVAo IVDo PSA PSD TAI TELo
                     OUR SAMo CNT COM INT NAV ONL
                     PHY PRE PUR UNI
 hulu.com            NOI DSP COR NID ADMa OP T a OUR                Invalid tokens    NO             Yes                None
                     NOR


Table 4: CPs of 50 most-visited websites with errors, sorted by popularity. Invalid tokens are shown in italics.


domain has conflicting IV A and IV D tokens. This CP is                   portance. Without CPs, many network advertising cookies
confusing since it claims the site is using identifiable informa-         would be blocked by IE because they are used in a third-
tion to perform individual analysis and decisions; however, it            party context. In addition, users are generally not aware
does not include any CATEGORIES token associated with                     of what third-parties are setting cookies on the sites they
the collection of identifiable information.                               visit or what their privacy practices are. If used properly,
   Finally, the hulu.com domain contains the invalid OP T a               P3P could provide information about privacy practices that
token which presumably is intended to be OT P a instead.                  would otherwise be difficult for users to obtain. We col-
This makes it syntactically incorrect. More importantly, the              lected a list of 75 network advertisers offering opt-out cook-
CP includes the N ID token, claiming that no PII is asso-                 ies that can be set using the Beef TACO (Targeted Adver-
ciated with cookies. We read the human-readable privacy                   tising Cookie Opt-Out) Firefox extension. As detailed in
policy of this website and found that it explicitly mentions              Appendix F, We found that only 11 of them delivered CPs
linking PII to cookies.                                                   with their opt-out cookie. However, we found errors in only
   All but one of these top websites do not have a full P3P               one of these CPs.
policy, and several of them have CPs that appear to be                       Some of the most-visited domains host many websites in
well-crafted to bypass IE filtering. Further analysis will be             their domain, and thus have many invalid CPs. Table 5 lists
needed to determine if they actually follow the data prac-                the 6 domains responsible for at least 100 invalid CPs each.
tices they claim through their CPs; however, as detailed in               These 6 domains are accountable for nearly 40% of CPs with
Appendix D, there are inconsistencies that suggest they do                errors. These include two of the top 100 most-visited web
not follow the practices they claim.                                      domains: tripod.com and msn.com.
   Domains such as f acebook.com, msn.com, live.com and
aol.com exhibited TRUSTe privacy seals, despite display-
ing invalid CPs. Indeed, we found that 391 of the 3,417                   7.   CONCLUSIONS
TRUSTe-certified websites have CPs, but 134 (34.3%) of                      In this paper we present data on errors commonly found
these had at least one problem with their CPs, as detailed                in P3P compact policies that are detectable through auto-
in Appendix G. 28 out of the 48 top websites with CPs                     mated analysis. We evaluated CPs collected from 33,139
appeared on the list of TRUSTe websites and 11 (39.3%) of                 websites on 19,820 domains and found invalid tokens, miss-
these had invalid CPs. This suggests TRUSTe is not review-                ing tokens, or conflicting tokens at 34% of these sites. We
ing websites’ CPs when issuing privacy seals.                             found CP errors on a wide range of sites, including some of
   Network advertisers tend to make heavy use of third-party              the most popular websites on the Internet and TRUSTe seal
cookies in order to provide targeted advertising. Therefore,              holders. We also reviewed the opt-out cookies of 75 network
the use of CPs among network advertisers is of particular im-             advertisers, and found errors in one of the 11 CPs collected.
                                                                          We were surprised by the large number of errors we were able


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 Host domain      Invalid CPs     Percent of                           vious work suggests that errors in full P3P policies are also
                                  total invalid CPs                    common [14] [3]. It appears that companies do not cur-
 tripod.com               2,575   23.0%                                rently have sufficient incentives to provide accurate machine-
 addresses.com            1,054   9.4%
                                                                       readable privacy policies. Unless regulators use their author-
                                                                       ity to take action against companies that provide erroneous
 msn.com                    358   3.2%                                 machine-readable policies, users will be unable to rely on
 cjb.net                    247   2.2%                                 these policies.
 livedoor.biz               116   1.0%
 ning.com                   112   1.0%                                 8.   REFERENCES
 Total invalid:          4,462    39.92%                                [1] S. Byers, L. F. Cranor, and D. Kormann. Automated
                                                                            analysis of P3P-enabled web sites. ICEC ’03:
Table 5: Domains accountable for most of the CP                             Proceedings of the 5th international conference on
problems.                                                                   Electronic commerce, pages 326–338, 2003.
                                                                        [2] L. F. Cranor. Web Privacy with P3P. O’Reilly, 2002.
                                                                        [3] L. F. Cranor, S. Egelman, S. Sheng, A. M. McDonald,
to detect in CPs through automated analysis alone. We ex-                   and A. Chowdhury. P3P deployment on websites.
pect that even more errors exist, but discovering them would                Electronic Commerce Research and Applications,
require manual comparison with sites’ human-readable pri-                   7(3):274–293, 2008.
vacy policies or first-hand knowledge of sites’ actual privacy          [4] L. F. Cranor, P. Guduru, and M. Arjula. User
practices. The large number of CP errors is troubling and                   interfaces for privacy agents. ACM Transactions on
suggests that CPs cannot be relied on for accurate informa-                 Computer-Human Interaction, pages 135–178, June
tion about website privacy policies with respect to cookies.                2006.
   We conducted a number of analyses to try to understand               [5] S. Hacker. P3P in IE: Frustrating failure, June 2002.
why such a large fraction of CPs contain errors. Our results                http://www.oreillynet.com/mac/blog/2002/06/
suggest that while some errors are likely introduced through                p3p_in_ie6_frustrating_failure.html.
mistakes (e.g. typos or misunderstanding the P3P specifica-             [6] J. A. Harvey and K. M. Sanzaro. P3P and IE 6: good
tion), most appear to result from web administrators writing                privacy medicine or mere placebo? The Computer and
CPs for the purpose of avoiding IE cookie filtering without                 Internet Lawyer, 2002.
considering the accuracy of their CPs. In addition, we found            [7] http://www.w3.org/2002/12/18-p3p-workshop
large numbers of websites sharing the same erroneous CPs,                   report.html. Summary report - W3C workshop on the
including groups of websites hosted on the same domain.                     future of P3P. Technical report, W3C, November
   P3P is designed to provide website privacy policies in a                 2002.
computer-readable format that enables automated analysis                [8] P. G. Kelley, J. Bresee, L. F. Cranor, and R. W.
and decision making. CPs provide a simple way for websites                  Reeder. A “nutrition label” for privacy. SOUPS ’09:
to offer a summary of their privacy practices with respect to               Proceedings of the 5th Symposium on Usable Privacy
cookies in a format that is easily processed by web browsers.               and Security, 2009.
The IE web browser uses CPs to make cookie blocking deci-               [9] Microsoft. Privacy in Internet Explorer 6. Visited
sions. Thus, CP errors are likely to cause IE to allow cookies              April 26, 2010.
that should be blocked under a user’s privacy settings to go                http://msdn.microsoft.com/en-us/library/ms537343
unblocked, and users who rely on IE’s cookie settings may
                                                                       [10] Microsoft Support. Session variables are lost if you use
be misled. This problem is exacerbated by the fact that the                 FRAMESET in Internet Explorer 6, April 2006.
IE cookie-filtering implementation does not check for CP er-                http://support.microsoft.com/kb/323752.
rors. Thus even the invalid- and missing-token errors, which
                                                                       [11] G. Patel. How to set third-party cookies with iframe,
are a clear violation of the P3P specification, go undetected
                                                                            December 2008.
by IE. Indeed, some websites appear to exploit this IE im-
                                                                            http://viralpatel.net/blogs/2008/12/how-to-set-third-
plementation loophole and publish CPs containing only bo-
                                                                            party-cookies-with-iframe.html.
gus tokens or omitting tokens in the categories that would
cause IE to filter their cookies. A number of online articles          [12] K. Patil. Session lost in iframe, April 2010.
also suggest CPs that websites can use to avoid having their                http://kiranpatils.wordpress.com/2010/04/13/session-
cookies blocked, and we found large numbers of sites that                   lost-in-iframe/.
copied these suggested CPs verbatim.                                   [13] Piskvor. Cookie blocked/not saved in IFRAME in IE,
   CP errors would likely be reduced substantially if IE checked            February 2009.
for these errors, and if the articles that informed web admin-              http://stackoverflow.com/questions/389456/cookie-
istrators about avoiding cookie blocking explained that CPs                 blocked-not-saved-in-iframe-in-internet-explorer.
need to follow the P3P specification and accurately repre-             [14] I. Reay, S. Dick, and J. Miller. A large-scale empirical
sent privacy practices with respect to cookies. In addition,                study of P3P privacy policies: Stated actions vs. legal
if the administrators of domains that host large numbers of                 obligations. ACM Transactions on the Web, 2009.
websites corrected the CPs for their domains, the number of            [15] J. R. Reidenberg and L. F. Cranor. Can user agents
errors would be significantly reduced.                                      accurately represent privacy policies? The 38th
   The CP error data we report suggests that many web-                      Research Conference on Communication, Information
sites are not taking P3P seriously and are behaving in ways                 and Internet Policy, 2002.
that undermine the purpose of the P3P specification. Pre-              [16] TRUSTe. Directory of TRUSTe certified web sites.


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APPENDIX
A.   DESCRIPTION OF P3P COMPACT POLICY TOKENS
 Element        Token       Full P3P Vocabulary       Plain Language Translation of P3P Policy Element [18]
 Access         NOI         <nonident/>               We do not keep any information identified with you
                ALL         <all/>                    We give you access to all of our information identified with you
                CAO         <contact-and-other/>      We give you access to your contact information and some of our
                                                      other information identified with you
                IDC         <ident-contact/>          We give you access to only your contact information in our
                                                      records
                OTI         <other-ident/>            We allow you to access some of our information identified with
                                                      you, but not your contact information
                NON         <none/>                   We do not give you access to our information about you
 Disputes       DSP         There are some disputes   There are ways to resolve privacy-related disputes with us
 Remedies       COR         <correct/>                We will correct any errors we make related to the commitments
                                                      in our privacy policy
                MON         <money/>                  We will compensate individuals if it is determined that we have
                                                      violated our privacy policy
                LAW         <law/>                    Our privacy policy references a law that may determine remedies
                                                      for breaches of our policy
 Non-           NID         <NON-                     We do not keep any information that could be used to identify
 Identifiable               IDENTIFIABLE/>            you personally
 Purpose        CUR         <current/>                To provide the service you requested
                ADM[attr]   <admin/>                  To perform web site and system administration
                DEV[attr]   <develop/>                For research and development, but without connecting any in-
                                                      formation to you
                TAI[attr]   <tailoring/>              To customize the site for your current visit only
                PSA[attr]   <pseudo-analysis/>        To do research and analysis in which your information may be
                                                      linked to an ID code but not to your personal identity
                PSD[attr]   <pseudo-decision/>        To make decisions that directly affect you without identifying
                                                      you, for example to display content or ads based on links you
                                                      clicked on previously
                IVA[attr]   <individual-analysis/>    To do research and analysis that uses information about you
                IVD[attr]   <individual-decision/>    To make decisions that directly affect you using information
                                                      about you, for example to recommend products or services based
                                                      on your previous purchases
                CON[attr]   <contact/>                To contact you through means other than telephone (for exam-
                                                      ple, email or postal mail) to market services or products
                HIS[attr]   <historical/>             To aid in historical preservation as governed by a law or policy
                                                      described in this privacy policy
                TEL[attr]   <telemarketing/>          To contact you by telephone to market services or products
                OTP[attr]   <other-purpose/>          For other uses described in the site’s human readable policy
 Recipient      OUR         <ours/>                   Companies that help us fulfill your requests (for example, ship-
                                                      ping a product to you), but these companies must not use your
                                                      information for any other purpose
                DEL[attr]   <delivery/>               Delivery companies that help us fulfill your requests and who
                                                      may also use your information in other ways
                SAM[attr]   <same/>                   Companies that have privacy policies similar to ours
                UNR[attr]   <unrelated/>              Other companies whose privacy policies are unknown to us
                PUB[attr]   <public/>                 People who may access your information from a public area,
                                                      such as a bulletin board, chat room, or directory
                OTR[attr]   <other-recipient/>        Companies that are accountable to us, though their privacy poli-
                                                      cies may be different from ours

                                                                                            Continued on next page . . .




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Element         Token          Full P3P Vocabulary       Description
Retention       NOR            <no-retention/>           We do not keep your information beyond your current online
                                                         session
                STP            <stated-purpose/>         We keep your information only long enough to perform the ac-
                                                         tivity for which we collected it
                LEG            <legal-requirement/>      We keep your information only as long as we need to for legal
                                                         purposes
                BUS            <business-practices/>     Our full privacy policy explains how long we keep your informa-
                                                         tion
                IND            <indefinitely/>           We may keep your information indefinitely
Categories      PHY            <physical/>               Name, address, phone number, or other physical contact infor-
                                                         mation
                ONL            <online/>                 Email address or other online contact information
                UNI            <uniqueid/>               Website login IDs and other identifiers (excluding government
                                                         IDs and financial account numbers)
                PUR            <purchase/>               Information about your purchases, including payment methods
                FIN            <financial/>              Financial information such as accounts, balances, and transac-
                                                         tion history
                COM            <computer/>               Information about the computer you are using, such as its hard-
                                                         ware, software, or Internet address
                NAV            <navigation/>             Which pages you visited on this web site and how long you
                                                         stayed at each page
                INT            <interactive/>            Activities you engaged in at this web site, such as your searches
                                                         and transactions
                DEM            <demographic/>            Information about social and economic categories that might
                                                         apply to you, such as your gender, age, income, or where you
                                                         are from
                CNT            <content/>                Messages you send to us or post on this site, such as email,
                                                         bulletin board postings, or chat room conversations
                STA            <state/>                  Cookies and mechanisms that perform similar functions
                POL            <political/>              Which groups you might be a member of such as religious orga-
                                                         nizations, trade unions, and political parties
                HEA            <health/>                 Health information such as information about your medical con-
                                                         dition or your interest in health-related topics, services, or prod-
                                                         ucts
                PRE            <preference/>             Information about your tastes or interests
                LOC            <location/>               Information about an exact geographic location, such as data
                                                         transmitted by your GPS-enabled device
                GOV            <government/>             Government-issued identifiers such as social security numbers
                OTC            <other-category/>         Other types of data described in the site’s human readable policy
Test            TST            <test/>                   The CP is under test


Attributes [attr]: a = always, i = opt-in, o = opt-out




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B.   FREQUENCY OF TOKENS
 Element      Token         always    opt-in   opt-out
 Access       NOI           28%       NA       NA
              ALL           6%        NA       NA
              CAO           44%       NA       NA
              IDC           12%       NA       NA
              OTI           <1%       NA       NA
              NON           5%        NA       NA
 Disputes     DSP           61%       NA       NA
 Remedies     COR           54%       NA       NA
              MON           <1%       NA       NA
              LAW           3.4%      NA       NA
 Non-         NID           6%        NA       NA
 identifiable
 Purpose      CUR/CURa      58%       NA       NA
              ADM           73%       1%       1%
              DEV           70%       1%       1%
              TAI           37%       2%       <1%
              PSA           52%       16%      2%
              PSD           32%       1%       1%
              IVA           11%       27%      2%
              IVD           2%        23%      3%
              CON           1%        30%      12%
              HIS           3%        <1%      <1%
              TEL           <1%       1%       22%
              OTP           1%        22%      <1%
 Recipient    OUR           96%       NA       NA
              DEL           3%        22%      <1%
              SAM           1%        22%      2%
              UNR           <1%       21%      <1%
              PUB           <1%       21%      <1%
              OTR           2%        23%      15%
 Retention    NOR           7%        NA       NA
              STP           20%       NA       NA
              LEG           1%        NA       NA
              BUS           13%       NA       NA
              IND           67%       NA       NA
 Categories   PHY           39%       NA       NA
              ONL           40%       NA       NA
              UNI           56%       NA       NA
              PUR           31%       NA       NA
              FIN           23%       NA       NA
              COM           61%       NA       NA
              NAV           61%       NA       NA
              INT           39%       NA       NA
              DEM           49%       NA       NA
              CNT           25%       NA       NA
              STA           45%       NA       NA
              POL           21%       NA       NA
              HEA           21%       NA       NA
              PRE           31%       NA       NA
              LOC           15%       NA       NA
              GOV           21%       NA       NA
              OTC           3%        NA       NA
 Test         TST           <1%       NA       NA

  This table shows the percentage of compact policies in our
data set that contain each CP token.




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C.   EVALUATION OF FULL P3P AND HUMAN-READABLE POLICIES FOR WEB SITES
     USING THE CP SUGGESTED BY THE O’REILLY BLOG

URL                      Valid     Location of                 Comments
                         Full      Human-readable
                         P3P       Policy
                         Policy?
alleghenyinstitute.org   NO        Not found                   No policies found to compare with CP
bordellfuehrer.de        NO        Not found                   No policies found to compare with CP
caidep.com               NO        caidep.com                  Policies do not match - privacy policy does not men-
                                                               tion any information associated with the N OI, ADM ,
                                                               DEV , P SAi, COM , OT Ro, ST P , IN D or DEM tokens
                                                               included in the CP; privacy policy mentions the use of
                                                               cookies to store preferences and to perform customization
                                                               but CP does not include P RE or T AI tokens
cakephp.org              NO        cakephp.org/pages/privacy   Policies do not match - privacy policy does not men-
                                                               tion any information associated with the N OI, ADM ,
                                                               DEV , P SAi, ST P , IN D or DEM tokens included in its
                                                               CP; privacy policy mentions the use of cookies to store
                                                               preferences but CP does not include P RE token
campbell.house.gov       NO        Not found                   No policies found to compare with CP
condusef.gob.mx          NO        Not found                   No policies found to compare with CP
creditolo.de             NO        Not found                   No policies found to compare with CP
dme.kerala.gov.in        NO        Not found                   No policies found to compare with CP
economics.harvard.edu NO           Not found                   No policies found to compare with CP
equestrian.com.my        NO        equestrian.com.my/          Human-readable policy does not mention cookies
                                   privacy-policy
gilldivers.com           NO        Not found                   No policies found to compare with CP
gss.ucsb.edu             NO        Not found                   No policies found to compare with CP
honor.unc.edu            NO        Not found                   No policies found to compare with CP
itech-ny.com             NO        itech-ny.com/               Policies do not match - privacy policy does not men-
                                   privacy-policy.html         tion any information associated with N OI, ADM , DEV ,
                                                               ST P , IN D or DEM tokens included in its CP; privacy
                                                               policy mentions the use of cookies to store preferences but
                                                               CP does not include the P RE token
joomla.org               NO        joomla.org/                 Human-readable policy does not mention cookies
                                   privacy-policy.html
komodorock.com           NO        www.komodorock.com/         Policies do not match - privacy policy does not men-
                                   privacy-policy/             tion any information associated with N OI, ADM , DEV ,
                                                               ST P , IN D or DEM tokens included in CP; privacy pol-
                                                               icy mentions the use of cookies to store preferences and
                                                               customize advertising but CP does not include the P RE
                                                               or T AI tokens
laser.org                NO        Not found                   No policies found to compare with CP
majorleague.com.au       NO        Not found                   No policies found to compare with CP
megasearch.net           NO        megasearch.net/             Policies do not match - the use of cookies is not well
                                   PrivacyPolicy.html          detailed in the human-readable policy.

                                                                                               Continued on next page . . .




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URL                     Valid     Location of                  Comments
                        Full      Human-readable
                        P3P       Policy
                        Policy?
navicat.com             NO        navicat.com/en/privacy.html Human-readable policy does not mention cookies
ocean.tamu.edu          NO        geosciences.tamu.edu/        Policies do not match - privacy policy does not men-
                                  about-us/                    tion any information associated with N OI, DEV , P SAi,
                                  geonet-information-hub/      OT Ro, ST P , IN D or DEM tokens included in CP
                                  web-site-policies/
                                  677-site-privacy-and-
                                  security-policy
orange-pocket.com       NO        Not found                    No policies found to compare with CP
parktrust.org           NO        Not found                    No policies found to compare with CP
rcn.com                 NO        rcn.com/dc-metro/            Policies do not match - the use of cookies is not well de-
                                  privacy-policy               tailed in the human-readable policy - privacy policy does
                                                               not mention any information associated with N OI, ADM ,
                                                               DEV , P SAi, ST P , IN D or DEM tokens included in CP;
                                                               privacy policy mentions that cookies are used to provide
                                                               seamless visit and expedite customer login but CP does
                                                               not include CU R token
relevantmagazine.com    NO        relevantmagazine.com/        Policies do not match - the use of cookies is not well
                                  privacy-policy               detailed in the human-readable policy
themacstore.com         NO        themacstore.com/privacy/     Human-readable policy does not mention cookies
theories.com            NO        theories.com/index.php/      Policies do not match - the use of cookies is not well
                                  Privacy-Policy.html          detailed in the human-readable policy
topcities.com           NO        Not found                    No policies found to compare with CP
womensmedia.com         NO        womensmedia.com/new/         Human-readable policy does not mention cookies
                                  privacy-policy.shtml
wsashow.com             NO        wsashow.com/homepage/        Policies do not match - privacy policy does not men-
                                  privacy policy               tion any information associated with N OI, DEV , ST P
                                                               or IN D tokens included in its CP; privacy policy men-
                                                               tions that cookies are used for log-in, enable personaliza-
                                                               tion, analytics, shopping cart, personalized service, and
                                                               targeted advertisement, but CP does not include CU R,
                                                               IV D, IV A, T AI or IN T tokens




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D.   EVALUATION OF FULL P3P AND HUMAN-READABLE POLICIES FOR WEBSITES WITH
     CP ERRORS IN TOP 50 MOST-VISITED LIST

URL                  Valid     Location of                    Comments
                     Full      Human-readable
                     P3P       Policy
                     Policy?
facebook.com         NO        facebook.com/policy.php        Policies do not match - CP contains only two tokens
                                                              (DSP and LAW ) but privacy policy mentions that cook-
                                                              ies are used for several purposes, including the provision of
                                                              services, advertising, easy log-in, etc., and that cookies are
                                                              stored for an extended period
msn.com              NO        privacy.microsoft.com/         Slight differences between CP and privacy policy -
                               en-us/fullnotice.mspx          privacy policy mentions that cookies may be used to collect
                                                              demographic information but CP does not include DEM
                                                              token
safety.live.com      NO        privacy.microsoft.com/         Slight differences between CP and privacy policy -
                               en-us/fullnotice.mspx          privacy policy mentions that cookies may be used to collect
                                                              demographic information but CP does not include DEM
                                                              token
amazon.com           NO        amazon.com/gp/help/            Invalid CP, unable to compare
                               customer/display.html
                               /ref=footer privacy/
                               191-3583711-6331321?
                               ie=UTF8&nodeId=468496
microsoft.com        YES       privacy.microsoft.com/         Slight differences between CP, full P3P policy, and
                               en-us/fullnotice.mspx          privacy policy - privacy policy mentions that cookies may
                                                              be used to collect demographic information but CP and full
                                                              P3P policy do not include DEM token
reference.aol.com    NO        about.aol.com/aolnetwork/      Policies do not match - privacy policy mentions cookies
                               aol pp                         are used to remember preferences, measure ad effectiveness,
                                                              customize site, store demographic information, share info
                                                              with ad networks and service providers, but CP does not
                                                              include any P RE, ON L, T AI, DEM or SAM tokens.
atlas.mapquest.com   NO        about.aol.com/aolnetwork/      Policies do not match - privacy policy mentions cookies
                               aol pp                         are used to remember preferences, measure ad effectiveness,
                                                              customize site, store demographic information, share info
                                                              with ad networks and service providers, but CP does not
                                                              include any P RE, ON L, T AI, DEM or SAM tokens.
godaddy.com          NO        godaddy.com/                   Policies do not match - privacy policy mentions the col-
                               Agreements/ShowDoc.aspx?       lection of name, address, credit card numbers, government
                               pageid=PRIVACY&ci=             IDs, and collected information might be used to contact the
                               20803&app hdr=0                user and to present co-branded offers on opt-in basis, but
                                                              CP does not contain P HY , DEM , GOV , CON or SAM o
imdb.com             NO        imdb.com/privacy               Invalid CP, unable to compare
windows.com          NO        privacy.microsoft.com/         Slight differences between CP and privacy policy -
                               en-us/fullnotice.mspx          privacy policy mentions that cookies may be used to collect
                                                              demographic information but CP does not include DEM
hulu.com             NO        hulu.com/privacy               Policies do not match - privacy policy mentions targeted
                                                              advertising based on user’s activity but CP does not include
                                                              IV A; policy states: “We may use cookies and similar tech-
                                                              nologies to relate your use of the Hulu Services to personally
                                                              identifiable information,” yet CP includes the N ID token,
                                                              claiming that they do not collect PII




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E.   TOP VISITED DOMAINS USING CPS
         Domain               Valid Full    Errors found
                              P3P Policy?   in CP
         about.com            YES           None
         amazon.com           NO            Invalid tokens; Missing tokens
         angelfire.com        NO            Invalid tokens; IVA and CON conflicting tokens
         aol.com              NO            Missing tokens
         apple.com            NO            None
         att.com              YES           None
         bing.com             NO            None
         bizrate.com          NO            Invalid tokens
         blogspot.com         NO            None
         careerbuilder.com    YES           IVA conflicting token
         causes.com           NO            IVD, IVA and CON conflicting tokens
         cnet.com             NO            None
         cnn.com              NO            None
         comcast.net          NO            None
         dailymotion.com      NO            None
         examiner.com         NO            NID conflicting token
         facebook.com         NO            Missing tokens
         flickr.com           NO            None
         go.com               NO            Invalid tokens; Missing tokens
         godaddy.com          NO            IVD and IVA conflicting tokens
         google.com           NO            None
         hulu.com             NO            Invalid tokens
         ign.com              NO            None
         imdb.com             NO            Invalid tokens; Missing tokens
         latimes.com          YES           None
         linkedin.com         NO            None
         live.com             NO            Missing tokens
         mapquest.com         NO            Missing tokens
         match.com            NO            None
         metacafe.com         NO            None
         microsoft.com        YES           CON conflicting token
         monster.com          NO            None
         msn.com              NO            Invalid tokens
         mybloglog.com        NO            None
         nytimes.com          NO            Missing tokens
         people.com           NO            None
         simplyhired.com      NO            None
         target.com           NO            None
         thefind.com          YES           IVD and IVA conflicting token
         tripod.com           NO            Invalid tokens; IVA and CON conflicting tokens
         tumblr.com           NO            None
         twitter.com          NO            None
         washingtonpost.com   NO            TEL, IVD, IVA, and CON conflicting tokens
         weatherbug.com       NO            None
         wikipedia.org        NO            None
         windows.com          NO            Invalid tokens
         yahoo.com            YES           None
         yellowpages.com      NO            None
         Total                7/48          21/48




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F.   NETWORK ADVERTISING DOMAINS USING CPS
         Domain                       Valid Full    Errors found
                                      P3P Policy?   in CP
         247realmedia.com             YES           None
         adsfac.sg                    YES           None
         atdmt.com                    YES           None
         casalemedia.com              NO            None
         imiclk.com                   YES           None
         intellitxt.com               NO            None
         navegg.com                   NO            Invalid tokens
         realmedia.com                YES           None
         vizu.com                     YES           None
         weborama.fr                  NO            None
         zedo.com                     NO            None
         Total                        6/11          1/11


G.   DOMAINS HOLDING TRUSTE SEALS USING CPS
         Domain                       Valid Full    Errors found
                                      P3P Policy?   in CP
         10kscholarship.com           NO            None
         1800mobiles.com              NO            None
         192.com                      YES           None
         1choice4yourstore.com        NO            None
         247realmedia.com             YES           None
         2fixyourtrafficticket.com    YES           None
         3dcart.com                   NO            None
         abc.com                      NO            None
         abcnews.com                  YES           None
         activeinternational.ca       NO            IVD, IVA, and CON conflicting tokens
         activeinternational.com      NO            IVD, IVA, and CON conflicting tokens
         adt.com                      NO            None
         agilent.com                  NO            Missing tokens
         alladvertisingagencies.com   NO            None
         aloharents.com               NO            None
         alvenda.com                  NO            None
         amiastri.com                 NO            Invalid tokens
         angelfire.com                NO            Invalid tokens; IVA and CON conflicting tokens
         aol.com                      NO            Missing tokens
         apothica.com                 YES           Missing tokens; TEL and CON conflicting tokens
         appexchange.com              NO            Missing tokens
         apple.com                    NO            None
         asksanta.ca                  NO            Missing tokens
         att.com                      YES           None
         att.net                      YES           Invalid tokens
         attinteractive.com           NO            None
         automationcontrols.com       NO            None
         autonation.com               NO            None
         avaline.com                  NO            None
         aviationarthangar.com        NO            None
         bellsouth.com                NO            None
         bic-gsa.com                  NO            None
         bicgsa.com                   NO            None

                                                                          Continued on next page . . .




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 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 bicwarehouse.com               NO           None
 bidezone.com                   NO           Missing tokens
 billhighway.com                NO           Invalid tokens; Missing tokens
 billiardsaddiction.com         NO           None
 billshrink.com                 NO           IVD, IVA, and CON conflicting tokens
 bing.com                       NO           None
 bizrate.com                    NO           Invalid tokens
 bizrate.de                     NO           Invalid tokens
 bluerazor.com                  NO           IVD and IVA conflicting tokens
 bodymedia.com                  NO           None
 boostflow.com                  NO           None
 boston.com                     NO           None
 burstnet.com                   NO           None
 buyingadvice.com               NO           None
 buysafe.com                    YES          IVD, IVA, and CON conflicting tokens
 buysafeshopping.com            YES          IVD and IVA conflicting tokens
 caliberlocal.com               NO           None
 calibex.com                    NO           None
 candlewoodsuites.com           NO           Missing tokens
 candywarehouse.com             NO           None
 caoh.org                       NO           None
 careonecredit.com              YES          None
 carid.com                      NO           None
 casalemedia.com                NO           None
 caspio.com                     NO           Missing tokens
 caspio.net                     NO           Missing tokens
 cataloglink.com                NO           NID conflicting token
 catchfirefunding.com           NO           None
 cellstores.com                 NO           None
 ceu4u.com                      NO           None
 chatthreads.com                NO           Missing tokens
 cheaptickets.com               NO           IVD and IVA conflicting tokens
 chefsresource.com              NO           None
 chegg.com                      NO           None
 chipin.com                     NO           None
 christmastreeforme.com         NO           None
 cjhomeandoffice.com            NO           None
 classmates.com                 YES          IVD, IVA, and CON conflicting tokens
 clcleather.net                 NO           None
 clubbing.com                   NO           Missing tokens
 code7contest.com               YES          None
 comcast.net                    NO           None
 conair-store.com               NO           None
 concreteexchange.com           NO           None
 controlscan.com                YES          None
 coremetrics.com                YES          None
 costumecity.com                YES          None
 couponbug.com                  NO           None
 coupons.com                    NO           None
 couponsinc.com                 NO           None
 cpp.com                        NO           Missing tokens
 crafta.com                     NO           None
 credit.com                     NO           None
 criteo.com                     NO           None

                                                                   Continued on next page . . .




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 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 crowneplaza.com            NO               Missing tokens
 cufflinksdepot.com         NO               None
 datepad.com                NO               Missing tokens
 dealsonhotels.com          NO               Missing tokens
 debtgoal.com               NO               None
 depositagift.com           NO               None
 dexclusive.com             NO               None
 digicert.com               YES              CON conflicting token
 digilifestudios.com        NO               None
 digitalimaginghq.com       NO               None
 digitallanding.com         NO               IVD, IVA, and CON conflicting tokens
 digitalspyders.com         NO               None
 directfix.com              NO               None
 directtextbook.com         YES              None
 dreamlandweddingshoppe.com NO               None
 drugs.com                  YES              None
 duiattorney.com            NO               None
 dynamiclogic.com           YES              None
 e-miles.com                NO               None
 e-rewards.com              NO               None
 e-rewards.de               NO               None
 e-rewards.fr               NO               None
 e-rewards.nl               NO               None
 ea.com                     NO               Missing tokens
 earnmydegree.com           NO               None
 ebates.com                 NO               None
 ebooks.com                 YES              Missing tokens; CON conflicting token
 ecampustours.com           NO               None
 echosign.com               NO               IVD, IVA, and CON conflicting tokens
 educadium.com              NO               None
 educationconnection.com    YES              IVD, IVA, and CON conflicting tokens
 emeraldisland.com          NO               None
 emergingmed.com            NO               None
 enjoycpr.com               NO               None
 epals.com                  NO               None
 eprooft.com                NO               None
 espn.com                   YES              None
 ether.com                  NO               None
 eversave.com               NO               None
 facebook.com               NO               Missing tokens
 familyfun.com              NO               None
 fansnap.com                NO               None
 federaldebtreduction.com   NO               None
 firstagain.com             NO               CON conflicting token
 flemingoutdoors.com        NO               None
 forzieri.com               NO               None
 freeshop.com               NO               NID conflicting token
 genealogytoday.com         NO               None
 getaroom.com               NO               None
 getinsurancequotes.ca      NO               None
 globesmart.com             NO               None
 go.com                     YES              Invalid tokens; Missing tokens
 godaddy.com                NO               IVD and IVA conflicting tokens
 gotomypc.com               NO               Missing tokens

                                                                   Continued on next page . . .




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 Continued from previous page
 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 gowearfit.com                  NO           None
 greenfieldonline.com           NO           None
 greensherpa.com                NO           None
 greenwayuniversity.com         NO           None
 grovesite.com                  NO           None
 healthscout.com                YES          None
 healthsquare.com               YES          None
 hiexpress.com                  NO           Missing tokens
 higherone.com                  NO           None
 holiday-inn.com                NO           Missing tokens
 homedecorhardware.com          NO           None
 homegain.com                   NO           None
 hotbot.com                     NO           CON conflicting token
 hotelindigo.com                NO           Missing tokens
 houstontexans.com              NO           None
 htmlgear.com                   NO           Invalid tokens; IVA and CON conflicting tokens
 hyperstreet.com                NO           None
 ibm.com                        YES          None
 ichotelsgroup.com              NO           Missing tokens
 ideascale.com                  NO           None
 ifriends.net                   YES          None
 ifriendsv2.net                 YES          None
 ihg.com                        NO           Missing tokens
 ihgarmyhotels.com              NO           Missing tokens
 importedblankets.com           NO           None
 inksell.com                    NO           None
 inoutcash.com                  NO           None
 insightexpress.com             NO           None
 intelius.com                   NO           Missing tokens
 intercontinental.com           NO           Missing tokens
 intuit.com                     NO           Missing tokens
 itech-ny.com                   NO           None
 itwixie.com                    NO           None
 jackpotrewards.com             NO           Invalid tokens
 jaman.com                      NO           Missing tokens
 jameslimousines.com            NO           None
 jewelrywonder.com              NO           Missing tokens
 jobtarget.com                  NO           Invalid tokens; Missing tokens
 justasktoday.com               NO           None
 kanetix.ca                     NO           None
 kanetix.com                    NO           None
 karmacar.com                   YES          None
 keen.com                       NO           None
 keysurvey.com                  NO           Missing tokens
 kinglinen.com                  NO           None
 largestmall.com                NO           Missing tokens
 legalmatch.com                 NO           None
 letstalk.com                   NO           None
 life360.com                    NO           None
 lifequote.com                  NO           None
 linkedin.com                   NO           None
 listyourdebt.com               YES          None
 lithium.com                    NO           None
 live.com                       NO           Missing tokens

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 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 livemeeting.com                NO           CON conflicting token
 loanio.com                     NO           None
 logcap4jobs.com                NO           None
 lycos.com                      NO           CON conflicting token
 maghound.com                   NO           None
 mail2world.com                 NO           Missing tokens; IVA and CON conflicting tokens
 mailchimp.com                  NO           Invalid tokens; Missing tokens
 market2lead.com                YES          None
 mate1.com                      NO           None
 maven.net                      YES          None
 mba.com                        NO           None
 mcmobileaccessories.com        NO           None
 medelita.com                   NO           None
 medlink.com                    YES          None
 medsurvey.com                  NO           None
 mercedsystems.com              NO           None
 mesh.com                       NO           Missing tokens
 microsoft-hohm.com             NO           None
 microsoft.com                  YES          CON conflicting token
 microsoftfinancing.com         NO           None
 microsofthohm.com              YES          None
 mitto.com                      NO           CON conflicting token
 mndigital.com                  NO           Invalid tokens
 moneybookers.com               YES          None
 monster.ch                     NO           None
 monster.com                    NO           None
 moversdeal.com                 NO           None
 msn.at                         NO           Missing tokens
 msn.be                         NO           Missing tokens
 msn.com                        YES          Invalid tokens
 msn.de                         NO           Missing tokens
 msn.dk                         NO           Missing tokens
 msn.es                         NO           Missing tokens
 msn.fi                         NO           Missing tokens
 msn.fr                         NO           Missing tokens
 msn.it                         NO           Missing tokens
 msn.nl                         NO           Missing tokens
 msn.no                         NO           Missing tokens
 msn.pt                         NO           Missing tokens
 msn.se                         NO           Missing tokens
 mybarstools.com                NO           None
 myfreepaysite.com              NO           NID conflicting token
 myhomepage.com                 YES          CON conflicting token
 mynewplace.com                 YES          Missing tokens; CON conflicting token
 napster.com                    YES          None
 napster.de                     NO           None
 nationalgamecity.com           NO           None
 nextag.ca                      NO           None
 nextag.com                     NO           None
 nflflag.com                    NO           None
 nupplegal.com                  NO           None
 nytimes.com                    NO           Missing tokens
 oakcitygallery.com             NO           None
 officedrop.com                 NO           None

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 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 omniture.com                   NO           None
 onebagoneearth.com             NO           None
 onesky.com                     NO           None
 onetravel.com                  NO           None
 onetravelindia.com             NO           None
 onewayfurniture.com            NO           None
 opinion-central.com            NO           None
 orbitz.com                     NO           IVD and IVA conflicting tokens
 orbitzforbusiness.net          NO           IVD and IVA conflicting tokens
 paybycash.com                  NO           IVD, IVA, and CON conflicting tokens
 paycycle.com                   NO           Missing tokens
 payscale.com                   NO           IVD, IVA, and CON conflicting tokens
 pch.com                        NO           None
 pcicomplianceguide.org         YES          None
 pensxpress.com                 NO           None
 peopleclick.com                NO           None
 perfectmatch.com               NO           None
 periogen.com                   YES          None
 permuto.com                    NO           None
 photosynth.net                 NO           Invalid tokens
 pictureyoursunique.com         NO           None
 pinnaclesys.com                NO           None
 platinumgalleria.com           YES          None
 popularmedia.com               NO           None
 posonlinestore.com             NO           None
 pospaper.com                   NO           None
 precharge.com                  YES          None
 predictiveresponse.com         NO           None
 press8.com                     NO           None
 priorityclub.com               NO           Missing tokens
 priortax.com                   YES          Invalid tokens; Missing tokens
 prixmoinscher.fr               NO           None
 prodebtsupport.com             NO           None
 prosperitypublications.net     NO           None
 qualityhealth.com              YES          None
 quickenbillpay.com             NO           None
 quikcondoms.com                NO           None
 racingusa.com                  NO           None
 rapidrefund.net                NO           Invalid tokens; Missing tokens
 rapidrepair.com                NO           None
 rapidtax.com                   YES          Invalid tokens; Missing tokens
 rednel.com                     NO           None
 remington-store.com            NO           None
 rent.com                       NO           None
 repequity.com                  NO           None
 rewardtv.com                   NO           IVD and IVA conflicting tokens
 rixty.com                      YES          None
 roblox.com                     NO           None
 rockstargames.com              NO           Missing tokens
 rockyou.com                    NO           None
 rozee.pk                       NO           None
 safecount.net                  NO           None
 salesforcefoundation.org       NO           Missing tokens
 sharefile.com                  NO           Missing tokens

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 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 shermanstravel.com             NO           None
 shop.com                       NO           NID conflicting token
 shopbrita.com                  NO           None
 shopcompanion.com              NO           NID conflicting token
 shopdeck.com                   NO           None
 shopiogear.com                 NO           None
 shopkitchenaid.com             NO           None
 shopzilla.com                  NO           Invalid tokens
 shopzilla.de                   NO           Invalid tokens
 shopzilla.fr                   NO           Invalid tokens
 shustir.com                    NO           None
 simplifi.net                   NO           None
 simplybabyfurniture.com        NO           None
 simplykidsfurniture.com        NO           None
 sixcontinentsclub.com          NO           Missing tokens
 skincarerx.com                 YES          Missing tokens; TEL and CON conflicting tokens
 skintreatment.com              NO           None
 smartsourceonline.com          NO           None
 snaglo.com                     NO           None
 snapfish.com                   NO           None
 soccernet.com                  NO           None
 spardeingeld.de                NO           Invalid tokens
 spendgrowgive.com              NO           None
 spiceworks.com                 NO           None
 spoke.com                      NO           IVD, IVA, and CON conflicting tokens
 spokesoftware.com              NO           IVD, IVA, and CON conflicting tokens
 sportingnews.com               NO           None
 spytown.com                    NO           None
 starfieldtech.com              NO           IVD and IVA conflicting tokens
 starwars.com                   NO           Missing tokens
 staybridge.com                 NO           Missing tokens
 strands.com                    NO           None
 suresource.com                 NO           None
 surveillance-video.com         NO           None
 sweatmonkey.org                NO           None
 talentfilter.biz               NO           IVD, IVA, and CON conflicting tokens
 taxact.com                     YES          IVA and CON conflicting tokens
 taxactonline.com               YES          IVA and CON conflicting tokens
 taxcut.com                     NO           None
 taxpack.com                    YES          Invalid tokens; Missing tokens
 techbargains.com               NO           IVD, IVA, and CON conflicting tokens
 techcctv.com                   YES          None
 theblueriverbabyshoppe.com     NO           None
 theopenskyproject.com          YES          None
 thesims2.com                   NO           Missing tokens
 thumbplay.com                  NO           IVD, IVA, and CON conflicting tokens
 toluna.com                     NO           None
 topdjgear.com                  NO           None
 toponeshop.com                 NO           None
 torbalscales.com               NO           None
 treadmilldoctor.com            NO           None
 tripit.com                     YES          Missing tokens
 tripod.com                     NO           Invalid tokens; IVA and CON conflicting tokens
 tycoonu.com                    NO           Missing tokens

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 Domain                         Valid Full   Errors found
                                P3P Policy   in CP
 ultimatepay.com                NO           IVD, IVA, and CON conflicting tokens
 unbeatablesale.com             YES          None
 unique-egifts.com              NO           None
 us-appliance.com               NO           None
 uscretailproducts.com          NO           None
 verisign.com                   NO           None
 verizon.net                    NO           IVD, IVA, and CON conflicting tokens
 vermontgear.com                NO           None
 viewpoint.com                  YES          None
 vitadigest.com                 NO           None
 vitamaker.com                  NO           None
 voice123.com                   YES          None
 w3i.com                        NO           Invalid tokens; Missing tokens
 wallpapers.com                 NO           Invalid tokens; Missing tokens
 waterpik-store.com             NO           None
 weatherbug.com                 YES          None
 webtv.net                      NO           Missing tokens
 westfloridacomponents.com      NO           None
 whitakertaylor.com             YES          None
 whitesmoke.com                 YES          Missing tokens
 whowhere.com                   NO           CON conflicting token
 wildwestdomains.com            NO           IVD and IVA conflicting tokens
 windowsmedia.net               NO           None
 wine.com                       YES          TEL and CON conflicting tokens
 winferno.com                   NO           None
 wirefly.com                    NO           None
 wirelessground.com             NO           None
 wisemanfinance.com             NO           None
 wondertime.com                 NO           None
 wooddashexperts.com            NO           None
 xbox.com                       NO           Invalid tokens
 yahoo.com                      YES          None
 yellowpages.com                NO           None
 zocdoc.com                     NO           Missing tokens
 Total                          63/391       134/391




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